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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE


In re:                                                     Chapter 7

CHRISTMAS TREE SHOPS, LLC., et al.,                        Case No. 23-10576 (TMH)

                                   Debtors.1               (Jointly Administered)
                                                           Ref. Docket Nos. 639, 640, 641, 642, 643, 644,
                                                           645 and 646

               NOTICE OF RESCHEDULED HEARING ON FINAL FEE
          APPLICATIONS FROM OCTOBER 25, 2023 AT 10:00 A.M. (EASTERN
           TIME) TO NOVEMBER 27, 2023 AT 11:00 A.M. (EASTERN TIME)

         PLEASE TAKE NOTICE that the hearing on the below final fee applications scheduled

for October 25, 2023 at 10:00 a.m. prevailing Eastern Time has been rescheduled to November

27, 2023 at 11:00 a.m. prevailing Eastern Time before the Honorable Thomas M. Horan,

United States Bankruptcy Court Judge, at the United States Bankruptcy Court for the District of

Delaware, 824 North Market Street, 5th Floor, Courtroom No. 6, Wilmington, Delaware 19801.

         1.      Combined Third Monthly and Final Fee Application of Murphy & King,

Professional Corporation as Counsel to the Debtors and Debtors In Possession for Allowance of

Compensation and Reimbursement of Expenses for the (I) Monthly Period from August 1, 2023

Through August 16, 2023 and (II) Final Period from May 5, 2023 Through August 16, 2023

[Filed September 15, 2023, Docket No. 639].

         2.      Combined Third Monthly and Final Fee Application of Troutman Pepper

Hamilton Sanders LLP as Counsel to The Debtors and Debtors In Possession for Allowance of

Compensation and Reimbursement of Expenses for The (I) Monthly Period From August 1, 2023




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    The Debtors in these chapter 7 cases and the last four digits of each Debtor’s U.S. tax identification number are
    as follows: Christmas Tree Shops, LLC (1207), Handil, LLC (1150), Handil Holdings, LLC (2891), Salkovitz
    Family Trust 2, LLC (8773), and Nantucket Distributing Co., LLC (1640).

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Through August 16, 2023 and (II) Final Period for the period May 5, 2023 to August 16, 2023

[Filed September 15, 2023, Docket No. 640].

        3.       Combined Fourth Monthly and Final Fee Application of Porzio, Bromberg &

Newman, P.C. as Co-Counsel for the Official Committee of Unsecured Creditors, for Allowance

of Compensation and Reimbursement of Expenses for the (I) Monthly Period From August 1,

2023 Through August 16, 2023, and (II) Final Period for the period from May 22, 2023 to

August 16, 2023 [Filed September 15, 2023, Docket No. 641].

        4.       Final Fee Application of Kurtzman Carson Consultants LLC, as Administrative

Advisor to the Debtors, for the Period from May 5, 2023 Through and Including August 16, 2023

[Filed September 15, 2023, Docket No. 642].

        5.       Combined Third Monthly and Final Fee Application of FAAN Advisors Group

Inc. as Financial Advisor to the Debtors and Debtors in Possession for Allowance of

Compensation and Reimbursement of Expenses Incurred for the (I) Monthly Period from August

1, 2023 Through August 16, 2023 and (II) Final Period from May 5, 2023 Through August 16,

2023 [Filed September 15, 2023, Docket No. 643].

        6.       Third Monthly and Final Fee Application of Womble Bond Dickinson (US) LLP

for Compensation for Services Rendered and Reimbursement of Expenses as Co-Counsel for the

Official Committee of Unsecured Creditors for the Monthly Period from August 1, 2023 through

August 16, 2023 and for the Final Period for the period from May 22, 2023 to August 16, 2023

[Filed September 15, 2023, Docket No. 644].

        7.       Second Monthly and Final Fee Application of Rock Creek Advisors, LLC for

Compensation for Services Rendered and Reimbursement of Expenses as Financial Advisors for

the Official Committee of Unsecured Creditors for the Monthly Period from August 1, 2023



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Through August 16, 2023 and for the Final Period for the period from May 23, 2023 to August

16, 2023 [Filed September 15, 2023, Docket No. 645].

        8.       First and Final Application of SSG Advisors, LLC, Investment Banker to the

Debtors, for Allowance of Compensation and Reimbursement of Expenses for the Period May

31, 2023 Through and Including August 16, 2023 [Filed September 15, 2023, Docket No. 646].


Dated: October 12, 2023                    PACHULSKI STANG ZIEHL & JONES LLP

                                           /s/ Peter J. Keane
                                           Bradford J. Sandler (DE Bar No. 4142)
                                           Colin R. Robinson (DE Bar No. 5524)
                                           Peter J. Keane (DE Bar No. 5503)
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